Case 9:19-cr-80064-RAR Document 56 Entered on FLSD Docket 04/05/2021 Page 1 of 1




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO. 19-CR-80064-RAR

  UNITED STATES OF AMERICA,

  vs.

  MATTHEW TASSIN,

        Defendant.
  ______________________________/

                               ORDER SETTING RESENTENCING

         THIS CAUSE is before the Court on the Order Granting Defendant’s Motion to Vacate

  Under Section 2255 [ECF No. 54]. Defendant is hereby scheduled for a resentencing hearing on

  June 9, 2020 at 10:00 AM, consistent with the procedure set forth in United States v. Phillips,

  225 F.3d 1198 (11th Cir. 2000). Accordingly, it is hereby

         ORDERED AND ADJUDGED as follows:

         1.      The parties are instructed to either: (i) coordinate a teleconference with Defendant’s

  institution or; (ii) by no later than April 15, 2021, notify the Court that they wish to have Defendant

  transported to Fort Lauderdale, Florida for the resentencing hearing.

         2.      The United States Probation Office shall prepare an updated Presentence

  Investigation Report and provide copies to counsel and the Court by May 27, 2020.

         DONE AND ORDERED in Ft. Lauderdale, Florida this 5th day of April, 2021.



                                                           _________________________________
                                                           RODOLFO A. RUIZ II
                                                           UNITED STATES DISTRICT JUDGE
  cc:    All Parties of Record
